                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:17-cr-21
 v.                                             )
                                                )        Judge Travis R. McDonough
 WILLIAM MASENGALE                              )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



         Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

five count Indictment; (2) accept Defendant’s guilty plea as to Count One; (3) adjudicate the

Defendant guilty of Count One; (4) defer a decision on whether to accept the amended plea

agreement until sentencing; and (5) order that Defendant remain in custody until sentencing in

this matter (Doc. 43). Neither party filed a timely objection to the report and recommendation.

After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

report and recommendation (Doc. 43) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

follows:

      1. Defendant’s motion to withdraw his not guilty plea as to Count One of the Indictment is

         GRANTED;

      2. Defendant’s plea of guilty to Count One is ACCEPTED;

      3. Defendant is hereby ADJUDGED guilty of Count One;




Case 1:17-cr-00021-TRM-SKL           Document 53 Filed 07/11/17           Page 1 of 2     PageID
                                           #: 178
   4. A decision on whether to accept the amended plea agreement is DEFERRED until

      sentencing; and

   5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

      scheduled to take place on September 22, 2017 at 9:00 a.m. before the undersigned.

   SO ORDERED.


                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




                                         2
Case 1:17-cr-00021-TRM-SKL       Document 53 Filed 07/11/17          Page 2 of 2     PageID
                                       #: 179
